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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN

JONATHAN HARTGER,

        Plaintiff,
                                                            HON.
v                                                           CASE NO.

KENT COUNTY and BRANDON MARZ,
in his individual and official capacity,

        Defendants.

CHRISTOPHER TRAINOR & ASSOCIATES
CHRISTOPHER J. TRAINOR (P42449)
AMY J. DEROUIN (P70514)
Attorneys for Plaintiff
9750 Highland Road
White Lake, MI 48386
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Amy.derouin@cjtrainor.com
THERE IS NO OTHER PENDING OR RESOLVED CIVIL ACTION ARISING OUT OF THE
         TRANSACTION OR OCCURRENCE ALLEGED IN THE COMPLAINT

                            COMPLAINT AND JURY DEMAND

    NOW COMES Plaintiff, JONATHAN HARTGER, by and through his attorneys,

CHRISTOPHER TRAINOR & ASSOCIATES, and for his Complaint against the above-named

Defendants states as follows:

    1. Plaintiff is currently a resident of the City of Grand Rapids, County of Kent, State of

       Michigan.

    2. Defendant Kent County is a municipal corporation and governmental subdivision which is

       organized and existing under the laws of the State of Michigan.




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3. Defendant Brandon Marz is and/or was a sheriff deputy working and/or assigned to the Kent

   County Sheriff Department and at all times mentioned herein was acting under color of law,

   in his individual and official capacity, and within the course and scope of his employment.

4. All events giving rise to this lawsuit occurred in the City of Grand Rapids, County of Kent,

   State of Michigan.

5. This lawsuit arises out of Defendant’s violation of Plaintiff’s federal constitutional rights as

   secured by the Fourth Amendment as it applies to the States through the Fourteenth

   Amendment to the United States Constitution and consequently, Plaintiff has a viable claim

   for damages under 42 U.S.C. §1983.

6. Jurisdiction is vested in this Court pursuant to 28 U.S.C. §1331 [federal question] and 28

   U.S.C. § 1343 [civil rights].

7. That the amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00), not

   including interest, costs, and attorney fees.

                                             FACTS

8. Plaintiff realleges and incorporates by reference each and every paragraph of this Complaint

   as though fully set forth herein.

9. That on December 10, 2017, Plaintiff rented a house located 7055 Brooklyn Avenue

   Southeast, Grand Rapids, Michigan, to host a Christmas party for his friends and family.

10. That at approximately 1:00 a.m., Plaintiff went outside on the porch to smoke a cigarette.

11. Defendant Marz arrived on the scene after receiving a suspicious complaint for having

   multiple cars parked along the side of the road.

12. Defendant Marz approached the front porch shouting, “Party’s over mother fucker!”

13. Defendant Marz then grabbed Plaintiff and threw him onto the snow-covered cement, and

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   slammed his knee into the center of Plaintiff’s back.

14. Defendant Marz proceeded to handcuff Plaintiff, despite his non-resistance, pulled him to

   his feet and placed Plaintiff in the back of the patrol vehicle again without an explanation

   or justification.

15. Plaintiff was charged with a misdemeanor for attempted assaulting, resisting, and

   obstructing an officer.

16. That on April 20, 2018, Plaintiff’s charges were dismissed.

17. As a result of Defendant’s unlawful and excessive actions and/or inactions, Plaintiff

   suffered significant injuries and damages.

                                         COUNT I
                       VIOLATION OF THE FOURTH AMENDMENT
                            42 U.S.C. § 1983 EXCESSIVE FORCE

18. Plaintiff realleges and incorporates by reference each and every paragraph of this Complaint

   as though fully set forth herein.

19. At all relevant times herein, the individual Defendant acted under color of law, within the

   scope and course of his employment, and in his official and individual capacity.

20. Defendant violated Plaintiff’s clearly established and federally protected rights as set forth

   under the United States Constitution and the Amendments thereto, including, but not limited

   to, the Fourth Amendment of the United States Constitution to be free from unreasonable

   searches and seizures mainly to be free from excessive use of force, when he employed

   unnecessary and excessive force which resulted in injuries to Plaintiff.

21. The actions of Defendant was at all times objectively unreasonable in violation of Plaintiff’s

   clearly established rights under the Fourth Amendment to the United States Constitution

   which proximately resulted in significant injuries to Plaintiff.

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  22. Defendant is not entitled to qualified immunity because he violated Plaintiff’s clearly

      established Fourth Amendment right to be free from excessive use of force.

  23. As a proximate result of the violations and/or deprivations of Plaintiff’s constitutional rights

      by Defendant, Plaintiff has a viable claim for compensatory and punitive damages pursuant

      to 42 U.S.C. § 1983 together with costs, interests, and attorney fees as set forth in 42 U.S.C.

      § 1988.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in his favor and against Defendant in an amount in excess of Seventy-Five Thousand Dollars

($75,000.00) exclusive of interest, costs, and attorney fees.

                                      COUNT II
                      VIOLATION OF THE FOURTH AMENDMENT
                   42 U.S.C. § 1983—FALSE ARREST/IMPRISONMENT

  24. Plaintiff realleges and incorporates by reference each and every paragraph of this Complaint

      as though fully set forth herein.

  25. That the Fourth Amendment to the United States Constitution establishes that Plaintiff has

      the right to be free from unreasonable searches and seizures.

  26. At all material times, Defendant acted under color of law and unreasonably when he violated

      Plaintiff’s Fourth Amendment rights when he falsely arrested and falsely detained Plaintiff

      without probable cause.

  27. At all material times, Defendant acted under color of law and unreasonably when he violated

      Plaintiff’s Fourth Amendment rights when he arrested and caused to have charges brought

      against Plaintiff without probable cause.

  28. Defendant     acted   unreasonably     and       failed   in   his   duties   when   he   falsely

      arrested/detained/seized and charged Plaintiff.

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  29. Defendant acted under color of law and is not entitled to qualified immunity because he

      violated Plaintiff’s clearly established Fourth Amendment right to be free from

      unreasonable searches and seizures.

  30. Defendant’s illegal and unconstitutional acts were the direct and proximate cause of

      Plaintiff’s deprivation of his constitutional rights.

  31. Due to Defendant’s actions and/or inactions, Plaintiff’s Fourth Amendment rights were

      violated and pursuant to 42 U.S.C. § 1983, Plaintiff respectfully requests this Honorable

      Court to award exemplary, compensatory, and punitive damages plus costs, interest, and

      attorney fees as set forth in 42 U.S.C. § 1988.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in his favor and against Defendant in an amount in excess of Seventy-Five Thousand Dollars

($75,000.00) exclusive of interest, costs, and attorney fees.

                                  COUNT III
                    KENT COUNTY CONSTITUTIONAL VIOLATIONS

  32. Plaintiff realleges and incorporates by reference each and every paragraph of this Complaint

      as though fully set forth herein.

  33. Defendant Kent County acted recklessly and/or with deliberate indifference when it

      practiced and/or permitted customs and/or policies and/or practices that resulted in

      constitutional violations to Plaintiff.

  34. That these customs and/or policies and/or practices included, but were not limited to, the

      following:

           a. Failing to adequately train and/or supervise its police officers so as to prevent

               violations of citizen’s constitutional rights;


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        b. Failing to adequately train and/or supervise police officers regarding reasonable

            seizures;

        c. Failing to adequately train and/or supervise police officers regarding the proper use

            of force;

        d. Failing to supervise, review, and/or discipline police officers whom Kent County

            knew or should have known were violating or were prone to violate citizens’

            constitutional rights, thereby permitting and/or encouraging its police officers to

            engage in such conduct; and

        e. Failing to adequately train and/or supervise its police officers in the proper policies

            and procedures for establishing probable cause to arrest and the proper policies and

            procedures for effectuating an arrest without the use of excessive force.

35. Defendant’s conduct demonstrated a substantial lack of concern for whether an injury

   resulted.

36. Defendant’s acts and/or indifference and/or omissions were the direct and proximate cause

   of Plaintiff’s injuries.

37. The facts as set forth in the preceding paragraphs constitute a violation of Plaintiff’s Fourth

   and/or Fourteenth Amendment rights pursuant to 42 U.S.C. § 1983, and Plaintiff has a viable

   claim for compensatory and punitive damages plus interest, costs, and attorney fees as set

   forth in 42 U.S.C. §1988.




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       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in his favor and against Defendants in an amount in excess of Seventy-Five Thousand Dollars

($75,000.00), exclusive of costs, interest, and attorney fees.

                                       Respectfully Submitted,
                                       CHRISTOPHER TRAINOR & ASSOCIATES

                                       s/ Christopher J. Trainor________________
                                       CHRISTOPHER J. TRAINOR (P42449)
                                       AMY J. DEROUIN (P70514)
                                       Attorneys for Plaintiff
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Dated: October 26, 2018
CJT/mdb




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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

JONATHAN HARTGER,

       Plaintiff,
                                                   HON.
v                                                  CASE NO.

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       Defendants.

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                           DEMAND FOR TRIAL BY JURY

       NOW COMES Plaintiff, JONATHAN HARTGER, by and through his attorneys,

CHRISTOPHER TRAINOR & ASSOCIATES, and herby makes a demand for trial by jury in the

above-entitled cause.

                                  Respectfully Submitted,
                                  CHRISTOPHER TRAINOR & ASSOCIATES

                                  s/ Christopher J. Trainor
                                  CHRISTOPHER J. TRAINOR (P42449)
                                  AMY J. DEROUIN (P70514)
                                  Attorneys for Plaintiff
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